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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF MISSOURI
                                   EASTERN DIVISION


UNITED STATES OF AMERICA,                        )
                                                 )
            Plaintiff,                           )
                                                 )
      vs.                                        )          Case No. 4:10CR517 JCH
                                                 )
ANNKESHA WELCH, et al.,                          )
                                                 )
            Defendants.                          )


                                             ORDER

       This matter is before the Court on Defendant’s pre-trial Motion to Suppress Statements (Doc.

No. 50). Pursuant to 28 U.S.C. § 636(b), this matter was referred to United States Magistrate Judge

Terry I. Adelman, who filed a Report and Recommendation on January 31, 2011 (Doc. No. 70).

Neither party submitted objections to the Report and Recommendation.

       Magistrate Judge Adelman recommends that the Court deny Defendant’s motions. After de

novo review of the entire record in this matter, the Court adopts the Magistrate Judge’s

recommendation.

       Accordingly,

       IT IS HEREBY ORDERED that the Report and Recommendation of the United States

Magistrate Judge (Doc. No. 70) is SUSTAINED, ADOPTED, AND INCORPORATED herein.

       IT IS FURTHER ORDERED that Defendant’s Motion to Suppress Statements (Doc. No.

50) is DENIED.

Dated this 15th day of February, 2011.

                                                 /s/ Jean C. Hamilton

                                                 UNITED STATES DISTRICT JUDGE
